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                   EXHIBIT E
DocuSign Envelope ID: D660DCE1-597C-4ABF-AF36-01D5199A2BCA
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DocuSign Envelope ID: D660DCE1-597C-4ABF-AF36-01D5199A2BCA
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DocuSign Envelope ID: D660DCE1-597C-4ABF-AF36-01D5199A2BCA
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